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                            UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION


  Federal Trade Commission et al.,              Case No. 3:24-cv-00347-AN

                       Plaintiffs,              UNOPPOSED MOTION FOR
                                                LEAVE TO APPEAR AS AMICUS
                       v.                       CURIAE

  Kroger Company et al.,

                       Defendants.




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                                   LR 7-1 CERTIFICATION

       Pursuant to Local Rule 7-1, undersigned counsel certifies that they conferred in good

faith with all parties on the relief sought herein. No party opposes the motion.

                                               MOTION

       United States Representative Pramila Jayapal, on behalf of 28 Members of Congress,

respectfully moves this Court for leave to file the accompanying brief as amici curiae in support

of the motion for preliminary junction filed by the Federal Trade Commission and the States of

Arizona, California, Illinois, Maryland, Nevada, New Mexico, Oregon, and Wyoming and the

District of Columbia, by and through their respective Attorneys General (collectively,

“Plaintiffs”). Amici are 28 Members of Congress—4 Senators and 24 Members of the House of

Representatives—representing 16 states. (See Appendix A for list of proposed amici.) For the

reasons described below, the proposed amicus brief contains relevant material that may aid the

Court in resolving the issues raised by Plaintiffs’ motion.

                                        MEMORANDUM

       This case involves a challenge to a proposed transaction between Kroger and Albertsons

pursuant to Section 7 of the Clayton Act, 15 U.S.C. § 18, and Section 5 of the Federal Trade

Commission Act, 15 U.S.C. § 45. Kroger’s proposed acquisition of Albertsons could cause

significant harm to competition, consumers, and workers. The proposed merger and the outcome

of the pending motion for injunctive relief will have a substantial effect on amici’s constituents

and strongly implicates the public interest.

       A federal district court has the inherent authority to allow participation by amicus curiae

to assist the court in its proceedings. Hoptowit v. Ray, 682 F.2d 1237, 1260 (9th Cir. 1982)

(overruled on other grounds) (“The district court has broad discretion to appoint amici curiae.”).



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Indeed, “[d]istrict courts frequently welcome amicus briefs from nonparties concerning legal

issues that have potential ramifications beyond the parties directly involved or if the amicus has

unique information or perspective that can help the court beyond the help that the lawyers for the

parties are able to provide.” NGV Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F. Supp. 2d

1061, 1067 (N.D. Cal. 2005) (internal quotation marks and citations omitted); see also Hoptowit

682 F.2d at 1260.

       As Members of Congress, amici are uniquely positioned to inform the Court about the

impact that Kroger’s proposed merger with Albertsons will have on their communities. Amici

have received thousands of constituent communications expressing concerns about this merger in

the form of emails, calls, letters, and in person at town halls. Amici’s familiarity and frequent

interactions with the communities they represent offer valuable perspective and insight as to the

needs, concerns, and priorities of their constituents. Amici are also well positioned to discuss the

negative effects of previous supermarket mergers in their states and districts.

       Furthermore, several amici have special expertise and knowledge of antitrust law and

policy. Congresswoman Jayapal has been a leader on these issues, having served as a member of

the House Judiciary Committee Subcommittee on the Administrative State, Regulatory Reform,

and Antitrust since 2017, and Vice Chair of the Subcommittee in the 117th Congress.

Subcommittee membership entails gaining expertise on the history, purpose, and intent of U.S.

antitrust law, investigating alleged anticompetitive mergers and conduct throughout the

economy, engaging in oversight of antitrust enforcement agencies, and developing legislation to

improve and encourage robust enforcement of our antitrust laws. Representatives Balint,

Johnson, and Lieu are also members of the Subcommittee, and Representative Nadler has

worked on antitrust issues as Chair and Ranking Member of the House Judiciary Committee



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since the 115th Congress.

       Representative Schakowsky served as Chair of the Consumer Protection Subcommittee

on the Energy and Commerce Committee in previous sessions of Congress; in that position,

Representative Schakowsky led efforts to protect consumers from unfair business practices.

Senator Wyden is Chair of the Senate Finance Committee. And Senator Cantwell chairs the

Senate Committee on Commerce, Science, and Transportation, which has jurisdiction over the

Federal Trade Commission (the “FTC” or “Commission”) and other matters of interstate

commerce.

       Several amici also have special expertise with labor issues, including Representative

Jayapal, who is a member of the Education and Labor Committee. Representatives Jayapal,

Balint, Blunt Rochester, Budzinski, Bush, Casar, García, Hoyle, Johnson, Lee, Lieu, Ocasio-

Cortez, Porter, Schakowsky, Schiff, Tlaib, Watson Coleman, and Williams are all members of

the House Labor Caucus. These members have particular knowledge and expertise on labor law

and policy.

       Amici curiae submit this brief to provide the Court with the benefit of their experience

and expertise, and to provide information that otherwise may not be brought to the Court’s

attention by the parties to this case. For the reasons explained above, they respectfully request

that the Court grant amici curiae leave to file the attached brief in support of Plaintiffs’ motion

for preliminary injunction.




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     DATED this 2nd day of August, 2024.

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